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February 20, 2024

VIA ECF

Hon. Sidney H. Stein
United States District Judge
Southern District of New York
500 Pearl Street, Courtroom 23A
New York, NY 10007

Re: United States v. Menendez, et al., No. 23 Cr. 490 (SHS)

Dear Judge Stein:

We represent Senator Menendez and respectfully submit this letter to request that the Court set a
schedule for pretrial disclosures, including the production of government exhibits, Giglio
material, and Jencks Act material. We have met and conferred with the government regarding
these deadlines, but they have insisted that such disclosures be made just two weeks before the
start of the anticipated two month trial in this matter.

In a complex case such as this one, which involves a 5 year investigation, likely dozens of trial
witnesses, and allegations that span the globe, it is hard to conceive of a less appropriate – and
less fair – schedule for these disclosures. Indeed, with the identity of all individuals referenced in
the Indictment disclosed long ago to the defendants, there is no compelling rationale for the
government’s desire to withhold witness statements, other than to gain an unfair tactical
advantage at trial. 1 As for other pretrial deadlines, we have met and conferred with the
government and have reached substantial agreement on a schedule for the Court’s consideration
(summarized at the end of this letter).

Put simply, the government’s proposed disclosure schedule would reflect the most government-
friendly pretrial schedule implemented in recent history in a case involving an anticipated multi-
month trial. It would disable the defense’s ability to prepare for trial, and very well may
necessitate an adjournment if and when the voluminous exhibits, and Giglio and Jencks materials
(likely thousands of pages) are actually disclosed.

The government has offered no rationale for its proposed pretrial disclosure schedule. In its
back-and-forth with the defense, the government has failed even to give lip service to what
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 We have conferred with counsel for Defendants Nadine Menendez, Wael Hana, and Fred
Daibes, and each joins in the Senator’s requests in this letter.
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would presumably be its proffered rationale for such atypically late disclosures – i.e., witness
safety – reflecting the hollowness of that reason in this case, where the key witnesses have been
known to all parties from the outset and were disclosed by the government to the defense
following indictment.

Moreover, as explained below, the parties agree that motions in limine should be due on March
22, 2024. It is impossible for the defense to adequately brief motions in limine before the
government’s production of exhibits and Jencks Act material. Until the defendants receive such
materials, they will not know what the government’s direct case looks like, what sorts of unfairly
prejudicial or irrelevant materials the government may seek to introduce at trial, and whether
important aspects of the government’s anticipated case will be the subject of motions in limine.
Thus, the government’s own proposed schedule only serves to undermine the Court’s ability to
issue appropriate pretrial rulings defining the scope of proof at trial.

As this Court is aware, in trials of similar lengths, alleged terrorists, drug traffickers, securities
fraudsters, and violent organized crime figures routinely receive exhibits and 3500 materials
between one to two months before trial. See, e.g., United States v. Hwang, S1 22 Cr. 240
(AKH), Dkt. No. 141 (S.D.N.Y. Jan 23, 2024) (in racketeering and securities fraud case, 3500
material to be provided 6 weeks in advance of trial); United States v. Loera (“El Chapo”), 2015
WL 2744701, at *2 (E.D.N.Y. June 7, 2018) (in kingpin narcotics trafficking case, 3500 and
Giglio material provided one month in advance of trial); United States v. Percoco, et al., 16 Cr.
776 (VEC), Dkt. No. 647 (S.D.N.Y. May 3, 2018) (in multi-defendant public corruption case,
Jencks and Giglio material provided one month in advance of trial); United States v. Bonventre,
2013 WL 2303726, at *9 (S.D.N.Y. May 28, 2013) (in securities fraud case arising from Madoff
Ponzi scheme, Jencks materials to be provided two months in advance of trial); United States v.
Seabrook, 10 Cr. 87 (RAP), Minute entry for 9/21/11 proceedings (S.D.N.Y. Sept. 23, 2011) (in
public corruption case, Jencks material provided 6 to 8 weeks in advance of trial).

Pursuant to the Fifth and Sixth Amendments to the U.S. Constitution, Rule 2 of the Federal
Rules of Criminal Procedure and its inherent supervisory powers, the Court has the authority to
monitor and override the timing provisions set forth in the Jencks Act and in Rule 26.2. Indeed,
Rule 26.2, unlike its predecessor the Jencks Act, contains no language precluding the disclosure
of witness statements before trial. Compare Fed. R. Crim. P. 26.2 with 18 U.S.C. § 3500(a).
Rule 26.2 and related cases also acknowledge the risk to the trial schedule as a result of
insufficient time for the defense to make use of Jencks Act material. See Fed. R. Crim. P. 26.2(d)
(“Upon delivery of the statement to the moving party, the court, upon application of that party,
may recess proceedings in the trial from the examination of such statement and for preparation
for its use in the trial.”); United States v. Hinton, 631 F.2d 769, 782 (D.C. Cir. 1980).
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Here, in order to prepare effectively for trial, the defense must obtain the government’s exhibits
and Jencks and Giglio materials many weeks before the jury is sworn. If such disclosures are
denied, the defense may very well be required to seek recesses pursuant to Rule 26.2(d) in the
trial proceedings, merely to process the expected large volumes of witness-related material
generated during the years of government investigation and questioning of witnesses. The
defense has no desire to interfere with the court’s calendar or the trial in this way, particularly
given the risk that the jury will view defendants as responsible for the delays and for the overall
length of the trial, which would unfairly prejudice the defendants’ Fifth and Sixth Amendment
rights.

The remedy is obvious. It is overwhelmingly common in this and other Districts for cases of
similar (and even lesser) length for the government to agree or for the Court to order early
disclosure of government exhibit and Jencks Act material. Accordingly, we propose that
government exhibits, Giglio material, and Jencks Act material each be produced on March 8, i.e.,
eight weeks before the start of trial, understanding that it will be a rolling production subject to
supplementation made in good faith.

Despite the parties’ disagreement as to the schedule for disclosure of government exhibits, Giglio
material, and Jencks material, the parties have made substantial progress on a proposed schedule
for other pretrial deadlines, with some modest remaining disagreements. Specifically, the parties
propose the following:

   •   In Limine Motions: The parties mutually propose to file motions in limine on or before
       March 22 (i.e., 45 days before the start of trial), with responses due on April 12 and any
       replies due on April 19.

   •   Expert Disclosures: The government proposes that both parties’ expert disclosures be due
       on March 7, with any rebuttal expert disclosures due on March 15. The defendants
       counter-propose that the government’s expert disclosures be due on March 6 (because the
       government bears the burden of proof in the case), and the defendants’ expert disclosures
       due on March 20, with any rebuttal expert witness reports due March 27.

   •   Rule 404(b)/Affirmative Defenses: The parties mutually propose that Rule 404(b) notice
       and notice of any advice of counsel or public authority defense be due on March 15.

   •   Defense Exhibits and Defense Witnesses: the parties mutually agree that Defendants will
       produce any exhibits they intend to introduce during the Government’s case-in-chief on
       April 29, and that at least seven days before the anticipated start of the defense case, the
       defendants will provide (i) exhibits they reasonably expect to seek to introduce during
       their cases, (ii) a list of witnesses they reasonably expect to call in their cases, and (iii)
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       Rule 26.2 material for those witnesses (in a rolling production subject to supplementation
       made in good faith).

We thank the Court for its consideration, and are available at the Court’s convenience to address
these matters.

                                                    Respectfully,

                                                    /s/ Adam Fee
                                                    Adam Fee
                                                    Avi Weitzman
                                                    Attorneys for Defendant Robert Menendez
